           Case 1:20-cv-03030-RJL Document 6 Filed 10/22/20 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MI FAMILIA VOTA EDUCATION FUND;
 SARA SCHWARTZ; and MARLA LOPEZ,

                    Plaintiffs,

          v.                                        Civil Action No. 20-03030 (RJL)

 DONALD J. TRUMP, in his individual and
 official capacity as President of the United
 States; WILLIAM P. BARR, in his official
 capacity as Attorney General; and CHAD F.
 WOLF, in his official capacity as Acting
 Secretary of Homeland Security,

                    Defendants.


                          NOTICE OF APPEARANCE OF COUNSEL

       Please take notice that Joshua E. Gardner, U.S. Department of Justice, Civil Division,

Federal Programs Branch, hereby provides notice of appearance as counsel of record in this case for

Defendants sued in their official capacities.


Dated: October 22, 2020                           Respectfully submitted,

                                                  JEFFREY B. CLARK
                                                  Acting Assistant Attorney General

                                                  /s/ Joshua E. Gardner
                                                  JOSHUA E. GARDNER
                                                  Special Counsel
                                                  U.S. Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  1100 L Street, NW
                                                  Washington, DC 20005
                                                  Tel: (202) 305-7583
                                                  Fax: (202) 616-8470
                                                  E-mail: Joshua.E.Gardner@usdoj.gov

                                                  Counsel for Defendants
